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ATTACHMENT C
CORPORATE COMPLIANCE PROGRAM

In order to address any deficiencies in its internal controls, compliance code, policies, and
procedures regarding compliance with U.S. anti-fraud laws, Balfour Beatty Communities, LLC
(“BBC” or the “Company” agrees to continue to conduct, in a manner consistent with all of its
obligations under this Agreement, appropriate reviews of its existing internal controls, policies,
and procedures.

Where necessary and appropriate, the Company agrees to modify its compliance program,
including internal controls, compliance policies, and procedures, in order to ensure that the
Company maintains an effective compliance program that is designed to effectively detect and
deter violations of U.S. anti-fraud law. At a minimum, this should include, but not be limited to,
the following elements to the extent they are not already part of the Company’s existing internal
controls, code of conduct, policies, and procedures:

High-Level Commitment

1. The Company will ensure that its directors and senior management provide strong,
explicit, and visible support and commitment to its corporate policy against violations of U.S. anti-
fraud laws and its code of conduct and demonstrate rigorous adherence by example. The Company
will also ensure that middle management, in turn, reinforces those standards and encourages
employees to abide by them. The Company will create and foster a culture of ethics and

compliance with the law in its day-to-day operations.
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Policies and Procedures

2. The Company will develop and promulgate a clearly articulated and visible
corporate policy against violations of U.S. anti-fraud laws, which policy shall be memorialized in
a written code of conduct.

3. The Company will develop and promulgate compliance policies and procedures
designed to reduce the prospect of violations of U.S. anti-fraud laws and the Company’s code of
conduct, and the Company will take appropriate measures to encourage and support the observance
of the code of conduct and related ethics and compliance policies and procedures against violation
of U.S. anti-fraud laws by personnel at all levels of the Company. These policies and procedures
shall apply to all directors, officers, and employees and, where necessary and appropriate, outside
parties acting on behalf of the Company. The Company shall notify all employees that compliance
with the code of conduct and related ethics and compliance policies and procedures is the duty of
individuals at all levels of the Company.

4. The Company will ensure that its privatized military housing portfolio maintains
an effective system of internal controls designed to ensure the making and keeping of fair and
accurate reports and records of the Company’s facilities management operations, corresponding
claims for and payments of fees relating to that work, and policies and procedures designed to
effectively detect and deter violations of U.S. anti-fraud law. The system should be designed to
provide reasonable assurances that facilities management activities are recorded as necessary to
permit accurate and transparent billing in conformity with applicable contracts and legal standards.

Periodic Risk-Based Review
5. The Company will develop these compliance policies and procedures on the basis

of a periodic risk assessment addressing the individual circumstances of the Company.
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6. The Company shall review these policies and procedures no less than annually and
update them as appropriate to ensure their continued effectiveness, taking into account relevant
developments in the field and evolving industry standards.

Proper Oversight and Independence

7. The Company will assign responsibility to one or more senior corporate executives
of the Company for the implementation and oversight of the Company’s code of conduct and
related ethics policies and procedures. Such corporate official(s) shall have the authority to report
directly to independent monitoring bodies, including internal audit, or the Company’s sole
member, and shall have an adequate level of autonomy from management as well as sufficient
resources and authority to maintain such autonomy.

Training and Guidance

8. The Company will implement mechanisms designed to ensure that its code of
conduct and related ethics policies and procedures are effectively communicated to all directors,
officers, employees, and, where necessary and appropriate, agents, outside parties, and/or business
partners. These mechanisms shall include: (a) periodic training for all directors and officers, all
employees in positions of leadership or trust, positions that require such training (e.g., internal
audit, sales, legal, compliance, finance), and, where necessary and appropriate, agents, outside
parties, and/or business partners; and (b) corresponding certifications by all such directors,
officers, employees, agents, outside parties, and/or business partners, certifying compliance with
the training requirements. The Company will conduct training in a manner tailored to the
audience’s size, sophistication, or subject matter expertise and, where appropriate, will discuss

prior compliance incidents.
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9. The Company will maintain, or where necessary establish, an effective system for
providing guidance and advice to directors, officers, employees, and, where necessary and
appropriate, agents, outside parties, and/or business partners, on complying with the Company’s
code of conduct and related ethics policies, and procedures, including when they need advice on
an urgent basis.

Internal Reporting and Investigation

10. | The Company will maintain, or where necessary establish, an effective system for
internal and, where possible, confidential reporting by, and protection of, directors, officers,
employees, and, where appropriate, agents, outside parties, and/or business partners, concerning
violations of U.S. anti-fraud laws or the Company’s code of conduct and related ethics policies
and procedures.

11. |The Company will maintain, or where necessary establish, an effective and reliable
process with sufficient resources for responding to, investigating, and documenting allegations of
violations of U.S. anti-fraud laws or the Company’s code of conduct and related ethics policies
and procedures. The Company will handle the investigations of such complaints in an effective
manner, including routing the complaints to proper personnel, conducting timely and thorough
investigations, and following up with appropriate discipline where necessary.

Enforcement and Discipline

12. The Company will implement mechanisms designed to effectively enforce its code
of conduct and related ethics policies and procedures, including appropriately incentivizing
compliance and disciplining violations.

13. |The Company will institute appropriate disciplinary procedures to address, among

other things, violations of U.S. anti-fraud laws and the Company’s code of conduct and related
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ethics policies and procedures, by the Company’s directors, officers, and employees. Such
procedures should be applied consistently and fairly, regardless of the position held by, or
perceived importance of, the director, officer, or employee. The Company shall implement
procedures to ensure that where misconduct is discovered, (a) reasonable steps are taken to remedy
the harm resulting from such misconduct; (b) appropriate steps are taken to prevent further similar
misconduct, including assessing the internal controls, code of conduct, and related ethics policies
and procedures; and (c) necessary modifications are made to ensure the overall compliance
program is effective.
Mergers and Acquisitions

16. |The Company will develop and implement policies and procedures for mergers
and acquisitions requiring that the Company conduct appropriate risk-based due diligence on
potential new business entities, including appropriate due diligence regarding U.S. anti-fraud laws
by legal, accounting, and compliance personnel.

17. |The Company will ensure that the Company’s code of conduct and related ethics
policies and procedures regarding U.S. anti-fraud laws apply as quickly as is practicable to newly
acquired businesses or entities merged with the Company, and that the Company will promptly (a)
train the directors, officers, employees, agents, and business partners consistent with Paragraphs
8-9 above on the Company’s code of conduct and related ethics policies, and procedures; and (b)
where warranted, conduct an audit of all newly acquired or merged businesses as quickly as is
practicable concerning compliance with U.S. anti-fraud laws.

Monitoring and Testing
18. |The Company will conduct periodic reviews and testing of its code of conduct and

related ethics policies and procedures designed to evaluate and improve their effectiveness in
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preventing and detecting violations of U.S. anti-fraud laws, as well as of the Company’s code of
conduct and related ethics policies and procedures, taking into account relevant developments in
the field and evolving international and industry standards. The Company will ensure that
compliance and internal control personnel have sufficient direct and indirect access to relevant
sources of data to allow for timely and effective monitoring and/or testing. Based on such review
and testing and its analysis of any prior misconduct, the Company will conduct a thoughtful root
cause analysis of such misconduct and timely and appropriately remediate to address such root

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